PRoB 12
REvlsEI) (05!90)

Case 2:01-cr-20238-SHMI-Hg§lg@gnt~é§Df§e§f§,jl@/@'i]@age 1 of 2 P;age|D 57

for Fli,ED B'r"

 

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U.S.A. vs. Karen E. Gordon Do¢k§_t j). ' . 4 ~ _ t-

 

Petition on Probation and Supervised Release

COMES NOW Johnetta Norman PROBATlON OFFICER OF THE COURT presenting an oflicial
report upon the conduct and attitude of Karen E. Gordon Who was placed on supervision by the Honorable M
Srnith Gibbons sitting in the Cou:rt at Memphis, Tennessee, on theE clay of May, M, who fixed the period
of supervision at three 131 years*, and imposed the general terms and conditions theretofore adopted by the Court
and also imposed Special Conditions and terms as follows:

 

l. The defendant shall provide lilll Enancial disclosure and participate in financial counseling as directed by the
Probation Oflice.

The defendant shall submit to mental health testing and treatment as directed by the Probation Office.
Third party risk notification as directed by the Probation OHicer.

The defendant shall pay restitution in the amount of $39,990.00. (Balance: 333,555.52)

The defendant shall participate in the Home Detention Prograrn for a period of six (6) months. {On February
27, 2003, the defendant appeared before Judge Samuel H. Mays, Jr., and pled guilty to violating the terms
of her Supervised Release due to non-compliance with the conditions of Home Confrnement. The defendant
was continued on Supervised Release and Home Coniinement was re-commenced}.

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* Supervised Release began: May l7, 2002
RESPECTFULLY PRESENTING PETITION FOR AC'I`ION OF COURT FOR CAUSE AS FOLLOWS:

Karen E. Gordon has not satisfied her restitution obligation She made consistent payments of One Hundred Dollars
($100.00) monthly, however, due to the amount owed as well as her limited income, she was unable to complete
payment of the debt. She has entered into an agreement with the United States Attorney’s Oiiice to continue her
One Hundred Dollar ($100.00) monthly payments

PRAYING THAT THE COURT WILL ORDER that Ms. Gordon be allowed to complete supervision as
scheduled on May 16, 2005, With the understanding that the United States Attorney’s OHice will be responsible for
the continued collection of restitution..

ORDER OF COURT Respectfully,

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upervising

   
  

 
  
  

Considered£ncl,ordered this iaH\ day
of ¢ and oidered filed and made a part
of the r cord in the above case.

i/// wm

United States District Judge

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:0]-CR-20238 was distributed by faX, mail, or direct printing on
May lS, 2005 to the parties listed.

 

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

